       Case 1:12-md-02329-TWT Document 2375 Filed 08/15/18 Page 1 of 1



                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE: WRIGHT MEDICAL                     )    MDL NO. 2329
 TECHNOLOGY, INC., CONSERVE                )    Case No. 1:12-md-2329 WSD
 HIP IMPLANT PRODUCTS                      )
                                                Motion Requesting Permission to
 LIABILITY LITIGATION________              )
                                                Withdraw from This Proceeding

 This Document Relates To:                 )

 All Cases
                                           )

To:
Clerk of Court
U.S. District Court for the Northern District of Georgia
Atlanta Division
Richard B. Russell Federal Building and Courthouse
75 Spring St., SW
Atlanta, GA 30303-3361

         Please take notice that Terrence Smith, of the firm Davis, Saperstein & Salomon, P.C.,
respectfully requests permission to withdraw from the MDL 2329 and have his name stricken
from all related ECF filings and notices.
All individual cases in which this firm represented plaintiffs have resolved and been dismissed
with prejudice by court order.
This law firm no longer represents any party in any case included in MDL 2329. Notice to former
clients is not necessary.
This law firm does not represent any party in any case that was or may be remanded back to any
transferor court.
This law firm has no further interest or participation in any residual matters concerning this MDL
2329., which closed on June 28, 2018.

_________________________________
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Attorneys for Plaintiffs

Dated: August 15, 2018
